                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:96-CR-00005

UNITED STATES OF AMERICA            )
                                    )
      Plaintiff,                    )
                                    )
              v.                    )                      ORDER
                                    )
JAMES EUGENE HARRIS                 )
                                    )
      Defendant.                    )
____________________________________)

       THIS MATTER is before this Court upon Plaintiff’s “Motion for Reconsideration”

(Document #79). Plaintiff requests that the Court reconsider its June 6, 2007 Order. The Clerk

is hereby DIRECTED to prepare an Amended Judgment, making “sentence” (on the top of page

2) plural and referencing both of Defendant’s South Carolina State Court sentences: 2006-GS-

46-03334 and 03337.

       Defendant Harris is therefore sentenced to 51 months in prison, to run concurrently with

his two sentences in South Carolina: The remaining provisions of the judgment should remain

the same.

       IT IS SO ORDERED.




                                               Signed: July 23, 2007




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